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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



TAWANNA ROBERTS, on behalf of herself
and all others similarly situated,                             No. 16 Civ. 4841 (LGS)

       Plaintiff,

           - against -

CAPITAL ONE, N.A.,

       Defendant.


           FINAL APPROVAL ORDER GRANTING IN PART APPLICATION
            FOR ATTORNEYS’ FEES AND COSTS, AND SERVICE AWARD

       On December 16, 2019, Plaintiffs moved for preliminary approval of a $17 million class

action settlement. The Court granted preliminary approval on January 10, 2020, and notice of

the settlement and fairness hearing was sent to class members. On October 29, 2020, the Court

held a fairness hearing. No objections to the settlement were filed, and no objectors appeared at

the hearing. By separate order, the Court approved the settlement plan as fair and adequate

under Federal Rule of Civil Procedure 23(e).

       Plaintiffs move for fees and costs to be paid out of the $17 million settlement fund

pursuant to Federal Rule of Civil Procedure 23(h). The requested attorneys’ fees are 30% of the

fund or $5,100,000. Plaintiffs also move for costs of $185,647.65 and an incentive award of

$15,000 for the lead Plaintiff for her participation in the litigation. The motion is granted in part.

Class counsel are awarded 27% of the fund in attorneys’ fees, or $4,590,000, as well as

$185,647.65 in costs. The lead Plaintiff is awarded $10,000.

I.     BACKGROUND

       The lead Plaintiff filed her Complaint in 2016, alleging unauthorized assessment of


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overdraft fees by Defendant on debit card transactions for which there were sufficient available

funds in customers’ accounts at the time the transactions were authorized and approved. The

case was litigated for more than three years before the settlement was negotiated. The class was

represented by Kopelowitz Ostrow Ferguson Weselberg Gilbert, Kaliel PLLC and Tycko &

Zavareei, LLP (collectively, “Class Counsel”). Class Counsel’s work on the litigation included:

(1) investigating and filing the Complaint; (2) conducting class, fact and expert discovery; (3)

briefing a motion to dismiss and interlocutory appeal of that motion; (4) briefing and defending

summary judgment motions and associated motions for reconsideration; (5) briefing class

certification; (6) participating in two mediation sessions; and (7) negotiating and briefing

settlement.

       Under the settlement plan, approximately $12,215,000 in settlement benefits will be paid

to approximately 340,000 current and former accounts of Defendant -- an average of

approximately $36 per account. Class Counsel worked a total of 3,777.45 billable hours on this

matter. This represents work performed up to September 8, 2020, and excludes time spent

preparing and arguing the motion to approve the settlement and attorneys’ fees, and time that

will be spent administering the settlement. If attorneys’ fees were calculated on an hourly basis

at current rates, the total fee or “lodestar” would be $2,294,960.25. A fee award of 30% of the

fund or $5,100,000 would represent a multiplier of 2.22 of the lodestar.

II.    LEGAL STANDARD

       In Rule 23 class actions, the “attorneys whose efforts created the fund are entitled to a

reasonable fee—set by the court—to be taken from the fund.” Goldberger v. Integrated Res.,

Inc., 209 F.3d 43, 47 (2d Cir. 2000); accord Beacon Assocs. LLC I v. Beacon Assocs. Mgmt.

Corp., No. 14 Civ. 2294, 2020 WL 2213477, at *7 (S.D.N.Y. May 7, 2020). “What constitutes a




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reasonable fee is properly committed to the sound discretion of the district court . . . and will not

be overturned absent an abuse of discretion . . . .” Goldberger, 209 F.3d at 47; accord Hart v.

BHH, LLC, 334 F.R.D. 74, 79 (S.D.N.Y. 2020). The reasonableness of a fee in this Circuit is

evaluated considering the Goldberger factors: “(1) the time and labor expended by counsel; (2)

the magnitude and complexities of the litigation; (3) the risk of the litigation . . .; (4) the quality

of representation; (5) the requested fee in relation to the settlement; and (6) public policy

considerations.” Goldberger, 209 F.3d at 50 (omission in original).

        District courts in this Circuit may use one of two methods as a starting point to analyze

attorneys’ fees. Id. The first is the “lodestar” method, by which the district court multiplies the

reasonable hours billed by a reasonable hourly rate. See id. at 47. Once that computation is

made, the district court may adjust the multiplier based on other factors such as the risk of the

litigation or the performance of the attorneys. See id. The second method is the “percentage of

the fund” method, which is the trend in this Circuit. Wal–Mart Stores, Inc. v. Visa U.S.A. Inc.,

396 F.3d 96, 121 (2d Cir.2005); accord Zekanovic v. Augies Prime Cut of Westchester, Inc., No.

19 Civ. 8216, 2020 WL 5894603, at *5 (S.D.N.Y. Oct. 5, 2020). Under the percentage method,

the fee must be a reasonable percentage of the total value of the settlement fund created for the

class. See Goldberger, 209 F.3d at 47. The percentage method “directly aligns the interests of

the class and its counsel and provides a powerful incentive for the efficient prosecution and early

resolution of litigation.” Wal–Mart, 396 F.3d at 121. By contrast, the lodestar method creates “a

disincentive to early settlements, tempts lawyers to run up their hours, and compels district

courts to engage in a gimlet-eyed review of the line-item fee audits.” Id. at 121 (internal

quotation marks, citations and alterations omitted); accord In re Signet Jewelers Ltd. Sec. Litig.,

No. 16 Civ. 6728, 2020 WL 4196468, at *15 (S.D.N.Y. July 21, 2020). The percentage method




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is used to evaluate the attorneys’ fees in this case, with use of the lodestar method as a cross-

check to verify the reasonableness of the awarded percentage. See Wal–Mart Stores, Inc., 396

F.3d at 123; accord Signet Jewelers, 2020 WL 4196568, at *15.

III.   DISCUSSION

       A.      Attorneys’ Fees

       The first step in the attorneys’ fees analysis is to determine a baseline reasonable fee with

reference to other common fund settlements of a similar size and complexity, based on the

subject matter of the claims. This analysis considers three of the Goldberger factors: (1) the

requested fee in relation to the settlement, (2) whether to award a lower percentage of a higher

settlement amount under a “sliding scale” approach in order to avoid a windfall to Class Counsel

and (3) the magnitude and complexity of the case. See In re Colgate-Palmolive Co. ERISA

Litig., 36 F. Supp. 3d 344, 348 (S.D.N.Y. 2014). The second step is to consider the Goldberger

factors of risk, the quality of the representation and other public policy concerns to make any

necessary adjustments to the baseline fee. The final step is to apply the lodestar method as a

cross-check, which addresses the final Goldberger factor -- the time and labor expended by

counsel. Based on this analysis, a reasonable fee in this case is 27% of the $17,000,000

settlement fund, or $4,590,000.

               1.      Comparison to Court–Approved Fees in Other Common Fund
                       Settlements

       Historical data of fees awarded in common fund cases provides an unbiased and useful

reference for comparing fees in cases of similar type or with similar recovery amounts. A 2010

empirical study by Professors Eisenberg and Miller examined attorneys’ fees awards from nearly

700 common fund settlements between 1993 and 2008. See Theodore Eisenberg & Geoffrey P.

Miller, Attorney Fees and Expenses in Class Action Settlements: 1993–2008, 7 J. Empirical



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Legal Stud. 248, 263–64 (2010) (“Eisenberg & Miller 2010”). Eisenberg and Miller performed a

follow-on study in 2017, examining data from 458 common fund settlements between 2009 and

2013. Theodore Eisenberg et. al., Attorneys’ Fees in Class Actions: 2009-2013, 92 N.Y.U. L.

Rev. 937, 940 (2017) (“Eisenberg & Miller 2017”). Those studies classify the examined

settlements by recovery amount and type of litigation. From 1993 to 2008, in cases with

recoveries in the $14.3 million to $22.8 million range, the mean attorneys’ fees as a percentage

of the settlement fund were 22.7, with a median of 23.5. Eisenberg & Miller 2010 at 265, Table

7. From 2009 to 2013, in cases with recoveries in the $12 million to $23.4 million range,

attorneys’ fees averaged between 25% and 26% of the settlement fund. Eisenberg & Miller 2017

at 948, Fig. 5.

        Similar attorneys’ fees percentages are found in empirical data for consumer class

actions, of which this is one. From 1993 to 2008, attorneys’ fees in consumer class actions

averaged 25% of the settlement fund, with a median of 20%. Eisenberg & Miller 2010 at 262,

Table 5. From 2009 to 2013, attorneys’ fees in consumer class actions averaged 26% of the

settlement fund, with a median of 25%. Eisenberg & Miller 2017 at 952, Table 4.

        Other empirical sources contain similar data. Professor Fitzpatrick’s 2016 study of

federal class action settlements in 2006 shows that attorneys fees average 24% of the total

settlement amount in consumer cases. Brian T. Fitzpatrick, An Empirical Study of Class Action

Settlements and Their Fee Awards, 7 J. Empirical Legal Stud. 811, 831, Table 7 (2010)

(“Fitzpatrick 2010”). His analysis of cases in 2007 showed only a 9% average recovery. Id.

        As such, fees in cases with similarly-sized settlement funds are typically lower than the

30% Class Counsel request. Fees in consumer class actions are likewise generally lower than

Class Counsel’s request.




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        The next question is whether a “sliding scale” approach -- awarding a smaller percentage

for fees as the size of the settlement fund increases -- is appropriate and avoids a windfall to

plaintiffs’ counsel to the detriment of class members. See Wal–Mart at 122–23 (“Recognizing

that economies of scale could cause windfalls in common fund cases, courts have traditionally

awarded fees for common fund cases in the lower range of what is reasonable.”); accord In re

LIBOR-Based Fin. Instruments Antitrust Litig., No. 11 Civ 2613, 2020 WL 6891417, at *3

(S.D.N.Y. Nov. 24, 2020). In support of their request for a 30% fee, Class Counsel provide a

2019 affidavit prepared by Professor Fitzpatrick for a motion for attorneys’ fees in a separate

case. That affidavit surveys attorneys’ fees in 64 bank overdraft class actions like this one. See

In Re: TD Bank, N.A. Debit Card Overdraft Fee Litigation, MDL No. 2613, Docket No. 223 ¶4

(D.S.C. Nov. 13, 2019). The affidavit notes that the average fee was 30.5% of the settlement

fund, with a median of 30%. Id. ¶5. However, the affidavit does not provide any reasoned basis

for why recoveries in bank overdraft litigation are higher than the average in consumer class

actions. Instead, it only notes that although “[e]mpirical scholars have often found that

settlement size has a negative inverse effect on fee awards . . . there is no statistically significant

relationship between fee award and settlement size” in bank overdraft class actions. Id. ¶8. Nor

did Class Counsel articulate any reason for why class actions should inherently have a higher

range of recovery than other consumer actions, or class settlements of similar size. Mindful of

the fact that “[i]n the context of a class action settlement, it is unlikely that any private

stakeholder is a reliable source of information,” In re Colgate-Palmolive, 36 F. Supp. 3d at 349

(citing McDaniel v. Cnty. of Schenectady, 595 F.3d 411, 418 (2d Cir. 2010)), as well as the

Second Circuit’s admonition that use of any fixed percentage for all cases, regardless of

settlement size, “seems to offer an all too tempting substitute for the searching assessment that




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should properly be performed in each case,” Goldberger, 209 F.3d at 52, the Court declines to

award the 30% requested by Class Counsel on the basis of the 2019 Fitzpatrick affidavit, and

instead finds that a lower recovery percentage is appropriate in light of the size of the settlement

and the fact that the Court must act as a fiduciary “serv[ing] as a guardian of the rights of absent

class members,” id.

       The next question is whether the magnitude and complexity of this case warrants a

departure from the lower range typically seen in similar cases. As to complexity, Class Counsel

do not provide, nor does the Court discern, any reason why overdraft fee litigation is inherently

more complex than other types of consumer class litigation. As to magnitude, this case was

heavily litigated through an interlocutory appeal, extensive discovery, a motion to dismiss,

summary judgment and various mediation and settlement discussions. Accordingly, this factor

favors recovery above the baseline set by similar cases.

       In considering the first three Goldberger factors, a recovery in the range of cases of

similar type and size is appropriate, with an upward adjustment due to the time and effort Class

Counsel spent litigating this case. The Court finds that a recovery of 27%, totaling $4,590,000,

adequately accounts for each of these factors.

               2.      Consideration of Risk, Result and Policy Considerations

       The next step is to consider three additional Goldberger factors -- the risk of the

litigation, the quality of the representation and any remaining public policy considerations -- and

determine whether this case is so exceptional in any of those areas that a departure from the

$4,590,000 award is warranted. No such departure is warranted in this case.

                       i.      The Risk of Litigation

       Risk should be considered “as of when the case is filed,” Goldberger, 209 F.3d at 55, and




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greater risks undertaken by counsel who accept a case on a contingent fee basis support a higher

settlement percentage, Signet Jewelers, 2020 WL 4196468, at *19. This case presented specific

issues of contract interpretation that were addressed by the Second Circuit on interlocutory

appeal, but otherwise did not involve significant unsettled questions of law or complex legal

issues. On the other hand, had this case proceeded to trial, unresolved factual and legal issues

may have barred any recovery by Class Counsel. However, a demonstrable risk of loss is

inherent to any case that proceeds to trial, and such risk does not justify increasing the recovery

percentage in this case.

                       ii.     The Quality of Representation

       Class Counsel credibly represent that they have experience in litigating bank overdraft

class actions. The settlement in this case supports that representation. Goldberger, 209 F.3d at

55 (“the quality of representation is best measured by results”). The settlement is the product of

more than four years of litigation and negotiation, and appears to be a fair reflection of the

strength of each constituency’s case. Class members, none of whom objected to the settlement,

will receive approximately 35% of the maximum that they could have received, which assumes

that they would have prevailed on various disputed legal and factual issues, including class

certification. The settlement therefore appears to be a fair reflection of the risk-adjusted value of

the claims, and there is no reason to conclude that its terms warrant an increase in Class

Counsel’s recovery percentage.

                       iii.    Public Policy Considerations

       Protecting bank customers from unfair or predatory overdraft practices serves the

important public interest of consumer protection, and Class Counsel’s fees should reflect the

important goal of “serv[ing] as an inducement for lawyers to make similar efforts in the future.”




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Wal–Mart, 396 F.3d at 96. However, no special public policy concern differentiates this case

from other consumer protection cases. As such, this factor does not warrant an increase in Class

Counsel’s recovery percentage.

               3.        The Lodestar Cross-Check

       The lodestar method assesses the value of attorney hours at a reasonable billing rate, as

requird by the last Goldberger factor. The lodestar cross-check ensures the reasonableness of a

fee awarded under the percentage-of-the-fund method. See Signet Jewelers, 2020 WL 4196468,

at *16 (citing Goldberger, 209 F.3d at 50). The requested fee in this case results in a lodestar

multiplier of 2.22, and the awarded fee results in a lodestar multiplier of 2.0. Lodestar

multipliers in cases with similar settlement amounts averaged 1.68 with a standard deviation of

.85 from 1993 to 2008, see Eisenberg & Miller 2010 at 274, Table 15, and averaged 1.86 with a

standard deviation of 1.58 from 2009 to 2013, see Eisenberg & Miller 2017 at 967, Table 13.

Consumer class actions from 2009 to 2013 averaged a lodestar multiplier of 1.32. See id. at 965,

Table 12.B. As such, although the multiplier in this case is higher than usual, it is not

unreasonable. Accordingly, the lodestar cross-check provides no basis for adjusting the

attorneys’ fees award.

       B.      Costs

       Class Counsel seek reimbursement for $185,647.65 in litigation costs for: expert

witnesses, filings, service, pro hac vice admissions, court reporters, deposition logistics,

litigation support vendors and 50% of travel costs. Courts routinely award such costs, which are

necessarily incurred in litigation and regularly charged to clients. See Signet Jewelers, 2020 WL

4196468, at *16 (“in a class action, attorneys should be compensated for reasonable out-of-

pocket expenses incurred and customarily charged to their clients, as long as they were incidental




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and necessary to the representation” (internal quotation marks omitted)); Fed. R. Civ. P. 23(h);

see also Wal–Mart, 396 F.3d 96, 121 (2d Cir. 2005) (affirming award of routine litigation costs

and expenses). Class Counsel’s motion for costs is accordingly granted.

       C.      Service Award to Named Plaintiff

       “Courts regularly grant requests for service awards in class actions to compensate

plaintiffs for the time and effort expended in assisting with the prosecution of the litigation, the

risks incurred by becoming and continuing as a litigant, and any other burdens sustained by the

plaintiffs.” Lesser v. TIAA Bank, FSB, No. 19 Civ. 1707, 2020 WL 6151317, at *4 (S.D.N.Y.

Oct. 20, 2020) (internal quotation marks omitted); see also McReynolds v. Richards-Cantave,

588 F.3d 790, 796 (2d Cir. 2009). However, such awards should be closely scrutinized, because

“[i]f class representatives expect routinely to receive special awards in addition to their share of

the recovery, they may be tempted to accept suboptimal settlements at the expense of the class

members whose interests they are appointed to guard.” Sakiko Fujiwara v. Sushi Yasuda Ltd., 58

F. Supp. 3d 424, 434 (S.D.N.Y. 2014). The amount of such awards may range in value based on

the amount of work performed by the representative on behalf of the class. See, e.g., Sewell v.

Bovis Lend Lease, Inc., 2012 WL 1320124, at *14 (S.D.N.Y. Apr. 16, 2012) (collecting cases).

Service awards are generally higher where the representative puts in demonstrably more effort

than usual, see Sykes v. Harris, No. 09 Civ. 8486, 2016 WL 3030156, at *18 (S.D.N.Y. May 24,

2016), faces a risk of harm or retaliation as a result of their representation, see Dial Corp. v.

News Corp., 317 F.R.D. 426, 439 (S.D.N.Y. 2016) (collecting cases), or lost wages, vacation

time or commissions from sales because of time spent at depositions or other proceedings, see In

re Bank of Am. Corp. Sec., Derivative, and Employee Retirement Income Sec. Act (ERISA) Litig.,

772 F.3d 125, 133 (2d Cir. 2014).




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        Plaintiff requests an incentive award of $15,000 as compensation for her efforts

advancing the litigation on behalf of the Class. Plaintiff engaged in activities commonly

expected of class representatives: she consulted with Class Counsel, sat for a deposition that

inquired into her personal finances, reviewed documentation related to discovery, settlement and

appeal, and produced responsive documents and information in discovery. Mindful that a

“balance must be struck so that a class representative does not view [her] prospect for rewards as

materially different from other members of the class, yet is not disadvantaged by [her] service in

pursuing worthy claims,” Lacovara v. Hard Rock Cafe Int’l (USA), Inc., No. 10 Civ. 7821, 2012

WL 603996, at *1 (S.D.N.Y. Feb. 24, 2012), the Court finds an incentive award of $10,000

justified. See Gonzalez v. Pritzker, No. 10 Civ. 3105, 2016 WL 5395905, at *5 (S.D.N.Y. Sept.

20, 2016) (awarding $10,000 to “compensate plaintiffs for the time and effort expended in

assisting the prosecution of the litigation”); see also In re Doria/Memon Disc. Stores Wage &

Hour Litig., No. 14 Civ. 7990, 2020 WL 6381830, at *2 (S.D.N.Y. Oct. 30, 2020) (finding a

$10,000 service award reasonable); Montalvo v. Flywheel Sports, Inc., No. 16 Civ. 6269, 2018

WL 7825362, at *5 (S.D.N.Y. July 27, 2018) (finding a “$ 10,000 service fee is both appropriate

in light of the time [class plaintiff] spent and in light of the risk [class plaintiff] ran and as an

incentive for others to follow suit in future cases”); Dorn v. Eddington Sec., Inc., No. 08 Civ.

10271, 2011 WL 9380874, at *7 (S.D.N.Y. Sept. 21, 2011) (awarding $10,000).

IV.     CONCLUSION

        Class Counsel is hereby awarded attorneys’ fees of $4,590,000.00 and reimbursement of

expenses in the sum of $185,647.65, to be paid from the settlement fund. The lead Plaintiff is

awarded $10,000, to be paid from the settlement fund.

Dated: December 2, 2020
       New York, New York



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